                      IN THE UNITED STATES BANKRUPTCY COIJRT
                      FOR THE NOR'TTIERN DISTRICT'OF ALABAMA
                                 NORTHERN DIVISION

WILLIAM BARRIER ROBERTS,

        Plaintiff,

v.                                                     Case   I{o. L8-83442-CRJI   I
MELANIE HAMMER MURRAY and                              AP No,. 19-80017-CRJ
RHET MURRAY,

       lDefendants.



                 RESPONSE IN OPI'OSITION TO MOTION TO DISMISS


       Plaintiff William Barrier Roberts ("Roberts") hereby responds           in opposition to lire
Defend;ants' Motion to Dismiss (the    "Motion"). For the r(lasons    stated below, the Court should

deny the Motion as to Counts One through Four of the Complaint ("Compl.").

                                             I. FACTS
       Roberts incotporated Bullet & Barrel, Inc. in Alabama on August 5,201.6, for the purpose

of establishing and operating an indoor shooting range and training facility in Huntsville. Comtrrl.,

!l 9. Roberts was the sole shareholder of such corporate entity. Id., fl 9.

       Bullet & Barrel, Inc. was converted into a limited liability company, Bullet & Barrel, LLC

("8&8"), by Statement of Conversion dated and filed on c,r about April 19,2017. Id., fl 10. ,ars

reflected on the Alabama Secretary     of State's Business Bntity Record for B&B, the nature of
B&B's business remains to "operate indoor shooting range/training facility." Id.

       At about the same time, namely', on or about April 19,2017, Roberts and Melanie Hamrru:r

Murray ("M. Muray") became B&B's minority Member and majority Member, respectively, and




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entered into a limited    liability company agreement for B&I) eflective            as of August 5.   2016. Id. at

fl I 1. 1, true and correct copy of that     agreement is exhibite,C to the affidavit of M. Murray filed in

support    of the Motion.        See Motion, Exhibit         A (M. lMurray affidavit), Exhibit 1 ("BdtB
Agreentent.").    I   Defendant Rhett Murray ("R. Murray") is M. Murray's spouse, a guarantor of

B&B's construction debt and source oIfunds for M. Murray's "capital contributions" and "loans"

to B&El. Compl., fl 3.

          B&B purchased land on which to construct its facility from            a related   entity, Roberts, LL(1.

the Mernbers of which are Roberts and M. Murray. Id., fl 12. B&B owns and operates an indo,cr

shooting range and associated goods shop in that facility located in Huntsville. Id., fl 4.

         M. Murrayhas engaged in acourse of conduct interrdedto oppress Roberts inhis capacity

as the   minority, non-controlling Member of B&B, and to squeeze Roberts out of B&B by, among

other thLings, the following:

         M. Munay abandoned the business plan for B&B, to the extent it provided for the operation

o1'the gun range and provision of related services and equripment as its "backbone," in favor of

endeavoring to market and operate B&B as "Huntsville's largest independently owned apparel

store"/'''Huntsville's largest boutique," including intentionally or recklessly over-investing in hig;li-

end women's apparel unrelated to firearms and gun range                activities. Id., fl 15. Predictably, this

intentional or reckless hijacking         of the    enterprise prompted the following response             of,   on

informertion and belief, one of     B&B's predominantly male members: "Apparel?! I want to shootl"

Such response was contained on          M. Ivlur:ray's Facebook     palge   until it recently was stripped of    a.11



postingrs containing photographs and information concer:Ling the aforementioned                     apparel.     ]rt


I Reference to "Member" or "Members" with
                                            capitalized first letters throughout the B&B Agreement refer to thorse
persons vvho hold membership interests in B&B. See, e.g., B&B Agrer:ment, g 2. I , Section 6, and Exhibit B thereto
at B-2 ("I\4ember" definition). The same conforrnance is used in this Opposition.




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M. Murray recently also has been seeking to dispose of BrtB's excessive inventory of women's

apparel through consignment shops and sales advertised most recently as "below costs," following

 steeply discounted sales. Id.,   fl   16.


        On multiple occasions, subsequent to initial capital contributions, M. Murray has required

Roberts to further fund   B&B to defray operational expenses of B&B that nevertheless went unpaid

as a consequence   of her financial mismanagement. Id., fl 17. M. Murray then expressly predical.ed

some a,Cditional requests for funding from Robefis to pay those same      B&B expenses. ld. Most

recentlv, M. Murray made formal capital calls to Roberls that were based, in part, on some of thorse

same e)(penses. Id.

        On information and belief, M. Murray also utilized funding received from Roberts to pay

for excessive purchases of apparel that she made unilaterally and regularly. Id.,         fl 18.     On

information and belief, M. Murray began purchasing apparel in approximately June 2017           -   more

than tetr months before B&B opened the range, and continued thereafter rather than pay certain

critical operating expenses, such as amounts owed for purchases of firearms, for which Roberts

provided such funding. Id. On information and belief, M. \4urray's initial apparel purchases wr:re

made rvithout disclosure     to   Roberts and later claimed by her as part     of her initial   capital

contribr.rtions, also without disclosure to Roberts.   Id. M. Murray repeatedly   made such apparel

purchas;es against the advice not only of R.oberts and   B&B'l; bookkeeper, but also B&B's certified

public accountant ("CPA"). Id.

        M. Murray also unilaterally entered into costly and poorly sequenced advertising contrar:ts

for B&B, some before B&B had openecl for business, and, upon information and belief, at least

some o.lwhich was vanity promotion for herself. Id.,      fl 19. Such advertising also was purchased
despite the objections of Robefis, and both     B&B's bookkeeper and CPA. Id.




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        Following M. Murray's repeated efforts to undermine Roberts' authority as an officer ,cf

B&B vrith its employees, consultants and prospective cui;tomers, M. Murray retaliated             against

Roberts;     by unilaterally terminating his employment with B&B for his questioning of               her

management decisions. Id.,l"|20. M. Murray has instructed         B&B's CPA to refrain from providing

to Roberts certain information and documents that he has requested for the legitimate purpose ,rf

remaining informed concerning the oper:ations of B&B, ol'which he remains a Member owning

forty-nine percent (49%) of the membership interest, and o1ficer, albeit stripped of all authority      as

such by M.      Murray. Id. M. Murray also has excluded Roberts from the B&B facility. Id.

        M. Murray has failed to heed the advice of B&B's CPA to reduce a sizeable B&B payroll,

even increasing it after her termination r:f Roberts' emplo;rment (for which he had been paid no

compensation and provided no benefits, despite workirrg              for B&B full time), and despite
continuing, monthly net operating losses. Id., fl 21. Moreover, In late October 2018, M. Murray

unilaterally instructed B&B's CPA to "reclassify" any fi;nds paid during 2018 into B&B by

Roberts and her "as capital contributions," in order to disguise the recent, formal capital calls she

made   ars   part of a plan to effectuate dilution of Roberts' interest in B&B or obtain his interest litr

little or nothing, Id., lJ23.

        Upon information and belief, M. Murray engaged                in the aforementioned     financial

mismanagement of        B&B intentionally in order to place the company in a financially       distressed

condition as a pretext for insisting upon additional financial contributions to the business by

Roberts by means of capital calls in October 2018, in response to which she herself failed to make

capital contributions proportionate to her membership interest in       B&B. Id.,n22. M. Murray       hLiis


done sc, in an effort to either dilute Roberts' membership interest in     B&B or to coerce him into     a

"fire sale" buyout of his interest in B&8. On information and belief, M. Murray has engaged             iin




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 such conduct in concert with her spouse, R.         Muray, who, upon information    and   beliel   has aiiled

 and abetted her by     furnishing   the   funtls.for her capital contributions and loans to B&8, and vtho

 was knowledgeable concerning and ot,herwise complicit with M. Murray's aforesaid
                                                                                  financ:,ial

 mismainagement       of B&8, to the detriment of Roberts,whom R. Murray has referred to as his

 "portner.    "   Id. (italics added for empha.sis). On information and belief, R. Murray has obrainecl

 prefere'ntial payments from B&B classified as M. Murra;v loan balance reductions, and on                  tW.


 Murralt capital account balance reduction labeled "Reinnbursement For Fixture." Id. (italics

 added   lor emphasis).

                       II.   ARGUMENT AND CITATION OF AUTHORITIES

 A.      Roberts' Claims for Breach of Fiduciary Duties (Count One of the Complaint) and
         Minority Oppression/Squeeze-Out (Count Two of the Complaint) are Viable as a
         Matter of Alabama Law.

         For the reasons addressed belorv, Defendants have misread the waiver provision                 up,on

 which they rely. Defendants also fail to acknowledge the bases under Alabama law for a claim of

minority oppression and squeeze-out in the context of an LLC.

         l.             B&B Com                     ment Does N             a Waiver of Fi
                    Owed         ulray to       flill       in his Ca                        of B&B Under
                    Alabama Law.

         Missing from Defendants'partial quotation of the rvaiver provision on which they rely is

the lan6page set forth in bold in the follc,wing complete quotation of that provision:

         fE]ach of the Members and the Company hereby waives any and all fiduciary duties
         that, absent such waiver, may be implied by any applicable Alabama law, and in
         doing so, acknowledges and agrees that the duties and obligation of eaclt
         member of tlte Management Committee to each o'ther antl to the Company are
         only as expressly set forth in this Agreement. The provisions of this Agreement,
         to the extent that they restrict the duties and liabilities of a member of the
         Management Committee otherwise existing at law or in equity, are agreed by the
         Members to replace such other duties and liabilities of such member of the
         Management Committee.




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B&B ltgreement, $ 5.1(g) (italics added for emphasis). qpfupare the Motion at 5 quotirlg,

partiall'y, $ 5.1(g). The language omitted from Defendants'quotation of suchprovision clearly

limits the extent of the waiver to only the duties and obligations of each member of                    the

Management Committee to each other member thereof and to the Company.

          Such limitation of the waiver renders       it applicable only to certain fiduciary duties o.l a
member of the Management Committee, namely, those owe:d to other members of such committee

and the   LLC itself, and not to those duties owed to LLC Itdembers, as is plainly underscored try

the finaLl sentence of Section 5(g) quotecl in full above. B), including the limiting phrase "and in

doing so," this waiver of fiduciary duties otherwise available under Alabama law, both statutory

and as ,:stablished by case law, does not include waiver of'fiduciary duties owed by members ,of

the Management Committee to the LLC Members, much less fiduciary duties owed by the majority

and controlling Member of the LLC, here M. Murray, to the minority Member, here Roberts.

          Had such delineation of waived liduciary duties been intended as illustrative only, the      urse


of "including but not limited to" or the like, in lieu of "in     sro   doing," would have been necessary.

As wri1.ten, the waiver is properly construed in accordance with the maxim "Expressio unius,est

exclusirt alterius." Black's LawDictionary (5tl'8d.1979) rsuccinctly addresses the application,cf

this maxim for the purpose of construing the waiver provisi,cn sub judice: "When certain . .. thinLgs

are sperlified in a law, contract, or   will,   an intention to exclude   all others from its operation may

be   infelred. Under the maxim, if [a] statute for an agreement] specifies an exception to a general

rule or assumes to specify the effects of a certain provilsion,            other... effects are excluded."
Black's Law Dictionary at 521 (5th Ed. 1979) (emphasis added). See Public Bldg. Auth. v. !it.

Paul Fire   & Marine Ins.,80 So.3d 17i, 181 (Ala.2010) tiapplying expressio unius est exclut;io

alterius'in interpreting contract language and concluding that "a more restrictive boundary u,as




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intended" for a provision); lvey v. Eqlirte of Ivelz, 261 So. 3d 198, 212 (Ala. 2017) (applyirrg

expressio unius est exclusio elterius in interpreting statutory provision specifying two evidentieLry

bases flrr precluding a claim as excluding other, unspecifi,:d bases). Accordingly,                    M. Mumay's

fiduciary duties owed to Roberts himself, as a Member of the LLC, not on behalf of the LLC itself,

as provided      in statute and under case law, are the duties upon which Roberts' claims asserted in

Counts One and Two of his Complaint are assefied and so.viable.2

           2.       Roberts has pleaded a r,'iable claim for mino.rity oppression/squeeze out against l\4.
                    Murray under Alabama Law.

           In the absence of a waiver as addressed above, then by virtue of her direction and oversi6lht

of the Company's activities and affairs as the sole member of B&B's Management Committr:e,

the duties owed by M. Murray to Roberts as a Member of th,: LLC, are partially outlined in Section

 10A-5lt-4.08, Ala. Code (1975 as amended). "This secti,on provided a set of default                        fiducieLr:y

duties and obligations[,]" for persons who have the authority to direct and oversee the activit;ir:s

and alflairs of the     LLC.    See   Ala. Code (1975, as amendecl), $ 10A-5A-4.08, comment. "[T]his

section merely outlines the basic duties of such persons, lvhile opening the door to other dut;l;s

which rnay be applicable through equitable and common lzrw principles ... to establish the dutir;s

of members, agents and others to each other...            ."   Id. (emphasis added). Such basic duties include

duties of "loyalty" and "care." Id., subsection             (a)(l).   The duty of "loyalty" includes but is rrot

limited to "account[ing] to the limited liability company and to hold[ing] as trustee for it arry

property, profit or benefit derived by that person in the conduct                     ... of the limited liability
company's activities and affairs... ." Id., subsection (bX1). The duty of "care" includes but is n,ct

limited to "refraining from engaging in grossly negligent or reckless conduct,                            intentioryal




2
    Roberts concedes that the above-quoted waiver provision does preclu,Je his assertion of Count Five of the
Complaint on behalf of    B&B. Accordingly, he hereby withdraws such claim.




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miscon,Juct,      or a knowing violation of law." Id.,              srubsection    (dxl)   (emphasis adderJ).

Additionally, such duties and those imposed by the limited. liability company agreement, ?S w,e,ll

as the exercise     of any rights in directing and overseeing the, company's activities and affairs sha.ll

be discharged consistently      with the implied contractual     corzenant    of good faith and fair dealinrl."

Id., subsection (e)(l) (emphasis added).

          Beyond such statutorily prescribed fiduciary duties are those recognized by Alabarrra

coutls, as synopsized in the Alabama l,awyer article cite,C by Defendants in the Motion.                    SS:e


Motion at 6, n. 6 citing Douglas B. Hargett            &   G. Bartley Loftin, III, Minority Oppression..jin

LimiteilLiabilit), Companies: The Birth of A New Claim             orr   A Hole in the Law?,77 Ala.Law.3,6

(2016). "Alabama [appellate] courts have, on several occasions, allowed a direct cause of                acti,cln

for   breeLch   of fiduciary duty against majority or controlling LLC members by a minority memLrr:r

in cases where a claim for minority oppression[/squeeze out] could have been asserted but, lbr

whatevr:r reason, was      not."   See 77   Ala. Law. at 42, n.27 aod decisions cited therein.

          For the reasons addressed in that same article, the decisions rendered by this Court in In          i:e


Dixie Pellets. LLC, AP No. l0-00014, 2010 Bankr. LEXIS               17   42 (Bankr. N.D. Ala. .Iune 9, 20 I 0),

and by the Alabama Supreme Court in DGB. LLC v. Hinds,55 So.3d 218 (AIa.2010), each

provide persuasive authority for this Couft's denial of Defendants' Motion as assigned to Robertrs'

oppression/squeeze out claim against N{. Murray. See 77 Ala. Law. at 40 (discussing Dixie Pelle.qi)

and 43 (discussing      Hinds). In Dixie Pellets, this Court denied        a motion to dismiss a direct clai.rn

by a rninority member of an LLC against a controlling, majority member for                             squeez:e

out/oppression. 20 Bankr. LEXIS 1742, *14            - *17.
          ln Hinds, the Alabama Supreme Court upheld the rlismissal of a squeeze out/oppressi,:,n

claim brought by minority members of an LLC because,               inL   their brief on appeal, those members




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 failed 1o provide citations of authority in support of such claim, not on an absence of authority

 suppon[ing recognition of the      viability oIsuch claim. 55 So. 3dat233 citingRule 28(a)(10),        A.lla.

 R.App.P.         See id. quoting Jimmy   DaLPlumbing & Heatirre. Inc. v. Smith, 964 So. 2d l, 9 (A.lla.

 2007)   ("[l]t   is not the function of this Crrurt to do a party's legal research or to make and addr,:ss

 legal arguments for a party based on undelineated general propositions not supported by sufficir:nt

 authority    or argument.") Nevertheless, Hinds            provi<les further support     for a   minority

 oppression/squeeze out claim        in the context of an LLC. In Hinds, the Alabama Supreme Court

 reversed the trial court's dismissal of'a breach of fiduciary duty claim brought by the minority

 members against the majority, controlling member based. on indicia exemplary               of those upon
 which oppression and squeeze out claims brought by minority business owners have been upheld.

 See 77   Ala. Law at 43 (discussing l{inds). "The language used to explain the fiduciary               and

 confidential relationship between majority and minority LLC members in Hinds is virtually

 identical to the 'specific type' of fiduciary duty described in the long line of shareholder oppression

cases b,sginning      with Burt [v. Burt Boiler Works.Inc., 360 So. 2d327 (Ala. 1978)]." Id. For this

reason, Roberts has pleaded not only a claim for         M. Murray's breach of her fiduciary duties trut

also a claim for minority oppression/squeeze out. There is no basis for requiring Roberts to choose

one or the other.

B.       Roberts has sufficiently alleged          a Claim for     Conspiracy (Count Three         of   ttre
         Complaint).

         Defendants' contention that Roberts has not sufficiently pleaded his conspiracy claim

should be rejected for the reasons stated below.




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                  Roberts' tort claims are viable and properly serve as the basis             of    Roberls'
                  conspiracy claim.

        Defendants concede that Counts One and Two of the Complaint assert tort claims:                  "...

fRoberls] alleges two closely-related ttreories of tort liatrility against [M. Murray]: breach ,cf

fiduciary duty and minority oppression. In turn, these alleg,ed torts serve as the basis of [Roberts,]

conspiracy claim against [R. Munay]." Motion at 9 (emphilsis added). For the reasons addressr:d

above, tihose claims have not been waived in or barred by the        B&B Agreement, but are viable.

        2.        Roberts' conspirac), slaim more than satisfie:s applicable pleading requirements.

        The conspiracy claim assefted by Roberts fallsi easily within the liberal pleading

requirements allowed by Rule 8 of the Federal Rules of C.ivil Procedure, which requires only "a

short and plain statement of the claim showing the pleader: is entitled to        relief." Fed. R. Civ.    P.


8(a)(2). The rule requires merely a short and plain statement        of   a claim showing that the pleacler

is entitled to relief, in order to give a defendant fair notice, of what the claim is and the grounds

upon which it rests. See e.g., Conley v. Gibson, 355 U.S. ,+1,47 (1957). The test is not wheth,er

the plaintiff   will ultimately prevail, but whether he is entitled to offer evidence in support of the

claims pleaded. Scheuer v. Rhodes,4l6 U.S. 232,236 (1974).

        The cases relied upon by the Defendants are readily distinguishable from the case at hand.

For exa.mple, the Motion cites American Dental Ass'n v. (ligna Corp., 605 F.3d 1283                (lltl'Cir.
2010),'r',hich relied upon the holding in and Bell Atlantic v. Twombly, 550 U.S. 544 (2007). Spe

Motion at 10. Both of those cases involved complaints that alleged parallel conducl accompanied

by nothing more than a bare assertion      o1i   conspiracy. In its narrow decision, the Ti.l'ombly court

simply held that allegations of parallel conduct suggesting a conspiracy, without a factual conte;rt

that would raise a plausible suggestion of a preceding agreement among the defendants, w€:re

insufficient    to state a claim under the       Sherman   Act. jlee Twombl),, 550 U.S. at 556-55;7

                                                  10


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(explairring that plausible grounds "simply calls for enough fact to raise a reasonable expectation

that discovery will reveal evidence of illegal agreement").

          Roberts' conspiracy claim is much more than an eLllegation of parallel conduct. To the

contrary, the Complaint alleges that M. Munay engaged in the underlying tort in concefi with her

spouse, R. Murray, who aided and abetted her by furnishing;the funds for her capital contributions

and loa.ns to B&B, while obtaining preferential payments from          B&B classified   as loan balance arrd

capital account balance reductions for Nt. Murray. See Complaint, fl 22. The Complaint fuittrer

alleges, inter alia, that R. Murray was complicit in the firrancial mismanagement of B&B and,

acting in conspiracy with       M. Murray, made and funded loans to B&B with the intention 6f
wrongfully diluting Robefts' interest in the company. See rComplaint, fl 22,26.

          Ihe Defendants further rely on N{ann v. Palmer to support their argument that courts "do

not have to take as true" allegations made "upon informat;ion and belief." 713 F.3d 1306, 1315

1l1th   Cir. 2013). However, the plaintiff in Mann, who was seeking a stay of execution, alleged

"upon information and belief' that "the supply of pentobarbital possessed by Florida ts either

expired, illegally obtained,     or compounded pentobarbital." Id.         (emphasis added). The court

refused to take such allegation as true on the basis that the, allegation was made without enoug;h

facts to make      it plausible -   and not. as Defendants mislleadingly argue,3 merely because the

allegati,cns were preceded by the words o'upon information and        belief." Id. Unlike Mann,    Robertrs'




3
    Defen<lant argue that because Roberts' faclual allegations in support of his conspiracy clairn were "upon
informal.ion and   belief' such prefatory language renders them "legal conclusions masquerading as facts."
Motion at 10. However, in Solvay Specialty Pol)rmers United States v. Zhenguo Liu, the defendant,s
counsel made the same argument and while the Solvalz court agreed that ,'mere conclusory allegations
unsupported by factual pleadings will not prevent dismissal," it r{ected the defendant's argument and he,ld
that the plaintiff provided sufficient factual detail to support its plausible allegations made "upon
informalion and belief." 2019 U.S. Dist LEXIS 77095, *12 (N.D. Ga.2019).



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conspiracy count does not posit alternative possibilities, but instead provides more than enough

facts that render    it more than plausible.      See id.

         Defendants also mistakenly rely on Fullman v. Grzrddick, 739F.2d 553                       (llth Cir.    1984),

for the proposition that courts should dismiss complaints containing "conclusory, vague                              and

general...allegations      of conspiracy." Again, this is true only when such allegations zr:re
unsupp,orted    by any factual context. *lee e.g., Ashcroft v. Iqbal, 556 U.S. 662, 678                          (2001));

Twomt{y, 550 U.S. at556',In re Dixie Pellets. LLC, AP No. l0-00014,2010 Bankr. LEXIS                               1721.2,

*12 (Brmkr. N.D. Ala. June 9,2010).4 In a more recent case, the U.S. District
                                                                              Court for the

Northern District      of Alabama       explained that even thoullh Fullman appears                 to stand for the
proposition that conspiracy allegations are subject to a heilghtened pleading standard, the United

States Siupreme Court has since rejected that proposition, holding that courts have no authority                       rto


create exceptions to the "simplified pleading standard" innposed by the Federal Rules of Civ,il

Procedure. N. Jackson Pharm.. Inc. v. Ilxpress Scripts" Inc.,345 F. Supp. 2d 1279,1278 (N.D.

Ala. 20,16) (citing Swierkiewicz v. Sorenra N.A., 534 U.S. 5;06 (2002)). The District Court furttu:r

explained that since notice pleading is all that is required, rarely will a motion to dismiss for failurre

to state a claim be granted "unless it appears beyond doubt that the plaintiff can prove set of facts

in support of his claim which would enlitle him to relief," which is particularly true "where the

proof and details of the alleged conspiracy are largely in the hands of the alleged co-conspiratorri,"

as is the case here, where      M. Murray     has restricted Roberts' access to       B&B records. Id.

         Moreover,    "it would be both inequitable         and ireconcilable with the liberal pleading rules

in federal court to dismiss a conspiracy claim for failure to prlead intricacies of that conspiracy tlrat




a
 In Dixie Pellets, this Court also denied a motion to dismiss a conspirar:y claim, in addition to the minority
members'squeeze out/oppression claim. 210 Bankr. LEXIS \j42,*20.



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are potentially unknowable to a       plaintiff before discovery." Matthews v. Brookstone Stores. Inc..

2005 U.S. Dist. LEXIS 29004, *        l0 (S.D. Ala. 2005). Roberts' conspiracy allegations easily satis;.ly

both the Fullman threshold and the pleading requirements under the Federal Rules of Civ,il

Procedure. He has not only alleged that a conspiracy existed. Rather, he has also identified the

participants in the conspiracy, the object of the conspiracy,, and the means       -   to the extent knolvn

withoul the benefit of discovery -- by which is was accomplished. As such, Roberts' allegations

"plainly set forth the nature of the conspiracy in sufficient detail to place defendants on notice r:f

the claim, to enable them to respond and defend themselves in a meaningful way, and to comport

with El,:venth Circuit pleading standards,." Id. Any lack of detail complained of by the Defendants

as to thr:     minutiae of the conspiracy is not grounds for a 12(b)(6) dismissal, but can be fleshed out

through. the discovery process.

C.        Roberts has Sufficiently Pleaded A Claim Under Alabama Code Section 10A-5A-4.C)9
          For Wrongful Denial of Access to LLC Records.

          Defendants have provided no authority construing Section 10A-5A-4.09, Ala. Code (191/5,

as amended), or its predecessor statutory provision, that requires Roberts to prove, much              lerss


plead,   a.s   they assefi in the Motion. Roberts has alleged that he was denied access to LLC recor<ls

by M. It4urra),, though she communicated such denial (with,cut explanation) through B&B's CPz\,

Compl., fl 20. As such, Roberts has stated a cognizable claim for violation of Section l0A-5.1r-

4.09, just as the     minority members of an LLC were held to have pleaded a viable claim under           a

predecessor statute, Section 10-12-15(b) (now repealed), ficr an        LLC's outside counsel's refui;ial

to provide access to LLC records on request. Fogarty v. Parker. Poe. Adams and Bernstein. LL.]1,

961 So. 2d784,793-94 (Ala. 2006) (denving motion to dismiss claim asserted pursuant to Sectirr,n

10-12-15(b), Ala. Code (1975, as amended) (now repealed) against lawyers and law firm actirLg

as agents      of the LLC). See also Dixie Pellets, supra at*27 - *22 (denying motion to dismiss claim



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 asserted pursuant   to 10-12-15(b), Ala. Code (1975,   as amended) (now repealed), in action flcr

minority oppression/squeeze out in the context of an LLC).

                                      rrr. coNCLUSrori
        For the reasons stated above, the Court should deny Defendants' Motion to Dismiss as to

Counts One through Four of the Complaint.

                                                    Respectfully submitted,

                                                    /s/ John J. Callahan, Jr.
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                                                     /s/Lisa M. English
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                                                    Plainti.lf William Barrier Roberts




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                                   CERTIFICATE OF          SEFI.VICE,

          I hereby certify that on May 30, 2019,1electronicall,l filed the foregoing with the Court us;ing
 the Clvl/ECF system, which will send the notice of the filinf to all counsel of iecord. and electr.nic
 mail upon:

 RicharC Blythe
 Bankrtrptcy Administrator
 P.O. Box 3045
 Decatur, AL 35602
 Via errLail: richard_blythe@alnba.uscourts.gov




                                                          /s/ J,ohn J. Callahan, Jr.
                                                         Of Counsel




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